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  EXHIBIT 10
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 Toxicological Assessment of Dewayne Johnson and Toxicological Risk
Assessment of Glyphosate and Roundup® and Ranger PRO® Formulations


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                                          December 21, 2017




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           Part C: Toxicological Assessment of Glyphosate
                            Carcinogenicity
Methodology

For the purposes of toxicological assessment, regulatory rulings play a role no more or
less important than any other objective evidence. The generally-accepted, peer-reviewed
toxicological literature is not based on unsubstantiated, subjective opinions. A responsible
scientific investigation applies a well-established and prescribed risk assessment
methodology.

This assessment applies the generally accepted and U.S. EPA-prescribed investigative
methodology in assessing the potential carcinogenicity of glyphosate. Expert opinions
must always be based on objective, reliable evidence without deviation from the
methodology. The strands of evidence are never assumed to stand by themselves in
isolation but are viewed as pieces of a larger puzzle. Scientific interpretation of the puzzle
forms the basis of the investigative process in which each piece is assessed on its merits.
Only in this manner can a scientifically credible assessment be conducted.

Regulatory Considerations

On July 7, 2017, the State of California listed glyphosate as a carcinogen, a chemical
“known to cause cancer” under the state’s Proposition 65 law. The ruling followed a move
by the World Health Organization’s International Agency for Research on Cancer (IARC)
classifying glyphosate as a “probable human carcinogen.” Monsanto is fighting the state’s
action but the California Supreme Court denied the company’s request to stop the listing
from taking effect while litigation is underway. Monsanto’s vice president of global strategy
announced that “We will continue to aggressively challenge this improper decision.”
Monsanto further alleged that IARC “ignored crucial scientific data that undermines its
conclusion.” To date, Monsanto has produced no objective evidence to directly support
its contention.

Glyphosate is currently undergoing registration review as mandated by the Federal
Insecticide, Fungicide and Rodenticide Act (FIFRA) which requires all registered
pesticides to be re-evaluated every 15 years. As part of the review, the U.S. EPA’s Office
of Pesticide Programs (OPP) released a report dated September 12, 2016, focusing on


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the carcinogenic potential of glyphosate.172 The report included an evaluation of all
cancer bioassays submitted under FIFRA.

Evaluation of Carcinogenic Potential Using Animal Models

U.S. EPA’s Office of Pesticide Programs (OPP) stated that it has followed the U.S. EPA’s
“Guidelines for Carcinogen Risk Assessment.” Consequently, as part of their evaluation
of the results of each cancer bioassay, the OPP performed a Cochran-Armitage test
(trend test) which statistically determines if the tumor incidences observed increased as
the dosages to the groups of test animals (rodents) increased.173

Also undertaken was the Fisher exact test which performs a pairwise comparison of
individual dose groups to controls to determine if the proportion of incidents in a dose
group is statistically increased over the controls.174

The U.S. EPA’s 2005 “Guidelines for Carcinogen Risk Assessment”175 states that “Trend
tests and pairwise comparison tests are the recommended tests for determining whether
chance, rather than a treatment-related effect, is a plausible explanation for an apparent
increase in tumor incidence.” The U.S. EPA’s guidelines then conclude that “Significance
in either kind of test is sufficient to reject the hypothesis that chance accounts for the
result.”

In addition to the trend test and pairwise comparison test, OPP performed a multiple
comparison test as it states in the U.S. EPA’s guidelines that “consideration of multiple
comparisons should also be taken into account.”

Furthermore, for some study results, the OPP compared the incidence proportions to
historical control data as the U.S. EPA’s guidelines also state that “Additional insights




172 U.S. EPA Office of Pesticide Programs, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

   2016, United States Environmental Protection Agency.
173 U.S. EPA, “Guidelines for Carcinogen Risk Assessment,” 2005, EPA/630/P-03/001F, Risk Assessment

   Forum, US Environmental Protection Agency, Washington, DC.
174 Id.

175 Id.


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about both statistical and biological significance can come from an examination of
historical control data.”

Review of OPP Cancer Bioassay Study Results

In the most recent glyphosate cancer bioassay study,176,177 the CD-1 mice bioassay
observed significant results for the Cochran-Armitage trend test and the Fisher exact test.
The results revealed 1) a significant positive trend of increased lymphoma incidents with
increased doses of glyphosate (with only a 0.7% chance that the trend is wrong) and 2)
a significant 10% increase in incidence of lymphoma at the 810 mg/kg/day dose level as
compared to the control group in the study which had zero (0) incidences of lymphoma.
Per the earlier stated U.S. EPA’s carcinogen risk assessment guidelines, “Significance in
either kind of test is sufficient to reject the hypothesis that chance accounts for the result.”
The Wood, et al., 2009b, study had significance in both tests which more than sufficiently
met the requirements of the U.S. EPA guidelines showing that the results are valid.

However, the OPP concluded in its evaluation of the Wood, et al., 2009 study that “…the
agency does not consider the increase in malignant lymphoma to be treatment-related.”
This was because the OPP did not consider significance in either test as its criteria. The
OPP merely mentioned that “a statistically significant trend was observed” and made no
further reference to the trend in their decision making, thus significantly discounting the
importance of the result.

It is both relevant and noteworthy that the rationale behind the OPP’s decision was based
on two additional conditions imposed by the OPP on the Wood, et al., 2009b, study results
These conditions were: 1) a multiple comparison analysis (Šidák correction-an additional




176 (a) Wood, E., Dunster, J., Watson, P., and Brooks, P., (2009a) “Glyphosate technical: Dietary

  combined chronic toxicity/Carcinogenicity study in the rat,” 2009a, Harlan Laboratories Limited, Page
  156 of 227 Shardlow Business Park, Shardlow, Derbyshire DE72 2GD, UK. Study No. 2060-012. April,
  23, 2009. MRID 49957404. From “Glyphosate issue paper: Evaluation of carcinogenic potential,” U.S.
  EPA’s Office of Pesticide Programs, September 12, 2016.
177 (b) Wood, E., Dunster, J., Watson, P., and Brooks, P., “Glyphosate technical: Dietary carcinogenicity

  study in the mouse,” 2009b, Harlan Laboratories Limited, Shardlow Business Park, Shardlow,
  Derbyshire DE72 2GD, UK. Study No. 2060-011. April, 22, 2009. MRID 49957402. From “Glyphosate
  issue paper: Evaluation of carcinogenic potential,” U.S. EPA’s Office of Pesticide Programs September
  12, 2016.
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statistical analysis which made it harder to find a significant difference) and 2) comparing
the significant lymphoma incidents to historical control data.

While the U.S. EPA’s 2005 “Carcinogen Risk Assessment Guidelines” do allow for
“consideration” of multiple comparisons, the guidelines recommend that the results of the
analysis be “taken into account” and “should be treated with caution” and not as criteria
for negating its fundamental guidelines for having a significant trend or a significant
pairwise comparison. Furthermore, when evaluating the results of the Lankas, 1981,
Sprague-Dawley rats bioassay,178 the OPP determined that there was a significant
positive trend (p = 0.009) of increased testicular tumors, a significant increased tumor
incidence proportion at pairwise comparisons of 12% in the highest dose of 31.49
mg/kg/day as compared to the control at 0% (p = 0.039). The OPP applied the multiple
comparison correction which confirmed the pairwise comparisons result (p =0.013). The
OPP still concluded that “… tumors in the testes were not treatment-related” and based
this solely on the fact that, according to the OPP, the controls were “unusually low” for
this type of tumor as compared to historical controls.

In its dismissal of the significance of the Wood, et al., 2009b179, results, the second issue
was the comparison to historical controls. The OPP noted that “For this strain of mouse,
the mean incidence for untreated animals is approximately 4.5% (range: 1.5%-21.7%)
based on historical control data from Charles River (59 studies performed from 1987-
2000; Giknis and Clifford, 2005), Huntingdon Laboratories (20 studies from 1990-2002)
and Son and Gopinath, 2004.” The OPP stated that “Although the data is not from the
performing laboratory, it does indicate that the incidence in concurrent controls in this
study was low which can contribute to the pairwise significance observed at the highest
dose tested with the raw (unadjusted) p-value.”




178 Lankas, G., “A lifetime study of glyphosate in rats,” 1981, Report No. 77-2062 prepared by Bio

  Dynamics, Inc. in U.S. EPA, “Glyphosate issue paper,” 2016 and reported in Greim, et al., 2015.
179 (b) Wood, E., Dunster, J., Watson, P., and Brooks, P., “Glyphosate technical: Dietary carcinogenicity

  study in the mouse,” 2009b, Harlan Laboratories Limited, Shardlow Business Park, Shardlow,
  Derbyshire DE72 2GD, UK. Study No. 2060-011. April, 22, 2009. MRID 49957402. From “Glyphosate
  issue paper: Evaluation of carcinogenic potential,” U.S. EPA’s Office of Pesticide Programs September
  12, 2016


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The U.S. EPA’s 2005 “Carcinogen Risk Assessment Guidelines” allow for insight from
historical controls; however, with regards to the use of historical controls, the guidelines
state “Caution should be exercised in simply looking at the ranges of historical responses
because the range ignores differences in survival of animals among studies and is related
to the number of studies in the database…Generally speaking, statistically significant
increases in tumors should not be discounted simply because incidence rates in the
treated groups are within the range of historical controls or because incidence rates in the
concurrent controls are somewhat lower than average. Random assignment of animals
to groups and proper statistical procedures provide assurance that statistically significant
results are unlikely to be due to chance alone.”

Per the guidelines, when historical control data is used, the evaluation should have
addressed several issues that affect the comparability of historical and current control
data such as genetic drift that would occur in the CD-1 mice strains over time and
differences in the protocols followed by different laboratories in performing their pathology
examination as these protocols can change between labs and over time. According to the
guidelines, “The most relevant historical data comes from the same laboratory and the
same supplier and is gathered within 2 or 3 years of the study under review. Other data
should be used only with extreme caution.”

Inexplicably, the OPP completely ignored the directive to use “extreme caution” as they
used data from other laboratories and from studies published more than 22 years before
the Wood, et al., 2009b, study (i.e. 1987 compared to 2009).

Additionally, the OPP made no indication that they took into account the potential for
genetic drift or differences in laboratory protocols for identifying lesions. Most importantly,
the lower range of historical control data reported by the U.S. EPA was 1.5% which is
close to the observed control lymphoma incidence of 0%. Further, CD-1 mice in the
bioassay by Sugimoto, 1997,180 had a lymphoma incidence of 0% in its controls and a
significantly elevated incidence of 17% at its highest dose.




180 Sugimoto, K., “Eighteen month oral oncogenicity study in mice,” 1997, The Institute of Environmental

  Toxicology, Tokyo, Japan in “Tier II summaries for glyphosate carcinogenicity studies from Greim, et
  al., 2015,” as Arysta Life Sciences, 1997a.
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FIFRA Scientific Advisory Panel Review

The OPP in their report181 stated that it was soliciting advice from FIFRA’s Scientific
Advisory Panel with respect to their evaluation and interpretation of the data on
glyphosate. The FIFRA Scientific Advisory Panel, the peer-review arm of the U.S. EPA,
held a meeting in December, 2016,182 to consider and review the scientific issues
associated with the U.S. EPA’s evaluation of the carcinogenic potential of glyphosate
(2016).

With regards to Wood, et al., 2009b, the FIFRA Scientific Advisory Panel’s memo stated
“In the response of malignant lymphomas in male CD-1 mice in Wood (2009b), it is not
clear that the difference in the observed concurrent control group incidence (0%) should
be considered unusually low as compared to the cited lower bound among historical
controls (1.5%).”

According to the FIFRA panel meeting minutes and final report, “Overall, the panel
concluded that the U.S. EPA evaluation does not appear to follow the U.S. EPA (2005)
Cancer Guidelines in several ways: notably for use of historical control data and statistical
testing requirements.” The minutes also stated that the U.S. EPA’s use of multiple
comparisons after the presence of a significant trend was “neither consistent with the
2005 “Guidelines for Carcinogen Risk Assessment” nor a conservative approach for
public health protection.”

OPP’s “Novel” Assessment Method

It is troubling to all objective scientists (including the FIFRA panel) that OPP deviated from
the long standing U.S. EPA’s evaluation of carcinogenic potential methodology by
implementing novel, non-peer-reviewed, extremely stringent “AND” requirements. U.S.
EPA rules normally apply as “EITHER” as opposed to “AND” with respect to 1) concluding
a significant dose response if one of the pairwise comparisons was significant or 2) the



181 U.S. EPA Office of Pesticide Programs, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, United States Environmental Protection Agency.
182 FIFRA SAP, “A Set of scientific issues being considered by the Environmental Protection Agency

  regarding: EPA’s evaluation of the carcinogenic potential of glyphosate,” 2016, FIFRA Scientific
  Advisory Panel Meeting Minutes and Final Report No. 2017-01.
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Cochran-Armitage tests were significant and the observed trend appeared monotonic. In
the Wood, 2009b study, all 3 tests were positive, exceeding the requirements.

Inexplicably, OPP instituted a peculiar approach for glyphosate only of requiring all 5
factors to be positive. Furthermore, OPP attempted to argue that the control data was
low (0 lymphomas in the control group) compared to 1.5% in the outdated (22-year-old)
data set. Additionally, OPP instituted the highly demanding (Šidák correction analysis)
using multiple comparison adjustments to be positive. Thus, the only factor of the 5 which
Wood, 2009b, did not pass was the Šidák correction analysis – a purely optional test.

Assessment of OPP Conclusions

OPP’s methodology was inappropriate per the FIFRA Scientific Advisory Panel. The OPP
decision to dismiss the results of the Wood, et al., 2009b, study was inevitable by virtue
of applying administrative criteria inconsistent with established methodology, guidelines
and procedures. There is no clear explanation for this.

The upshot is that the OPP decision is not in line with their mission to protect human
health. The rationale as published by OPP raises many questions and leaves a vacuum
where those with a vested interest in objective science would expect to see guidance
from a regulatory body tasked with this outcome. As noted by the Scientific Advisory
Panel, “When one uses conservatism of a test as a criterion, there is no clear stopping
point as a more conservative test can always be found.”

Thus, with respect to the current toxicological risk assessment, strict adherence to long
standing, generally-accepted methodology has been applied throughout.

Chronic Studies and Cancer Bioassays in Animals - Oral Studies

Chronic carcinogenicity bioassays are used to simulate lifetime exposures of an individual
to a chemical. Carcinogenicity bioassays evaluated in this assessment are from studies
submitted for evaluation by regulatory agencies (such as the U.S. EPA). These bioassays
tend to follow OECD accepted guidelines and protocols (Test Nos. 451 and 453) 183 and



183 Greim, H., Saltmiras, D., Mostert, V., Strupp, C., “Evaluation of carcinogenic potential of the herbicide

  glyphosate drawing on tumor incidence data from fourteen chronic/carcinogenicity rodent studies, et
  al.,” 2015, Critical Reviews in Toxicology, Vol. 45(3), pg. 185 - 208.
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are submitted to the U.S. EPA under 40 CFR Part 158.500. This statute requires chronic
carcinogenicity testing studies to be performed on two rodent species for registration of
food use pesticides OR if a pesticide is likely to have repeated human exposure over a
significant portion of the human lifespan.

Glyphosate’s cancer bioassay studies from 1979 to 2009 were evaluated by the U.S.
EPA’s Office of Pesticide Programs (OPP) and the results presented in their 2016 report
entitled “Glyphosate issue paper: Evaluation of carcinogenic potential.”184 A vast majority
of the studies reviewed by the OPP overlapped with those also reviewed in Greim, et al.,
2015,185 and summarized in detail in their report “Tier II summaries for glyphosate
carcinogenicity studies.”186 These two reports were used as sources of data in the current
evaluation of glyphosate’s carcinogenicity. Of note, all of the cancer bioassays in the OPP
evaluation and all but one in Greim, et al., 2015, are unpublished. All of the studies from
the U.S. EPA’s “Glyphosate Issue Paper” 187 and Greim, et al. (with the exception of
Chruscielska, et al., 2000), were dietary studies in which high purity glyphosate was
mixed in with laboratory animals’ food to yield various doses.

The exception, Chruscielska, et al., (2000), is a drinking water study that evaluated a
glyphosate formulation (13.85% glyphosate) and not strictly glyphosate and thus, was not
included in this evaluation.188 Another study from the “Tier II summaries” from Greim, et
al., 2015, entitled “Excel 1997” (authored by Bhide, R.) did not provide information on the
purity of glyphosate used and also was not included in the current evaluation. It was also
found to be unreliable for carcinogenicity evaluation by Greim, et al., 2015, due to
deviations from OECD test guidelines. Another mice study by Reyna and Gordon, 1973,
only examined ten mice out of 50 for histological changes which is insufficient to make


184 U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,” 2016, U.S. EPA’s Office of

  Pesticide Programs, US Environmental Protection Agency.
185 Greim, H., Saltmiras, D., Mostert, V., Strupp, C., “Evaluation of carcinogenic potential of the herbicide

  glyphosate drawing on tumor incidence data from fourteen chronic/carcinogenicity rodent studies, et
  al.,” 2015, Critical Reviews in Toxicology, Vol. 45(3), pg. 185 – 208.
186 “Tier II summaries for glyphosate carcinogenicity studies from Greim, et al., 2015 paper,” Unpublished

  data.
187 U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,” 2016, U.S. EPA’s Office of

  Pesticide Programs, U.S. Environmental Protection Agency.
188 Chruscielska, K., et al., “Glyphosate - Evaluation of chronic activity and possible far-reaching effects

  Part 1. Studies on chronic toxicity,” 2000, Pestycydy Vol. 3-4, pg. 11 – 20.
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such a determination. To date, there are no chronic inhalation carcinogenicity studies or
chronic dermal animal bioassays.

Carcinogenicity in Chronic Dietary Studies

Reliable dietary studies for carcinogenicity are generally long-term studies in which a
substance is fed or applied to test animals at controlled rates under a variety of conditions.
Measurements of health effects, mortality, changes in body mass and other variables are
recorded and incidences of carcinogenicity are carefully noted. Rats and mice are the
most common test animals although other animals are also used.

Two-year studies in laboratory rodents remain the primary method by which test articles
are identified as having the potential to be hazardous to humans. Typically, two or more
species of both sexes are employed to demonstrate the widest possible range of
response and variability although some studies limit sex and specie. Studies in rats along
with studies in human populations (epidemiology studies) are the best means currently
available for identifying potential human hazards. Chemicals recognized by the
International Agency for Research on Cancer (IARC) as human carcinogens essentially
all cause cancer when adequately tested in at least one species of laboratory animals.

Carcinogenicity Studies in Rats

Burnett, et al., 1979 189

In this two year, chronic carcinogenicity study, an aqueous monosodium salt of
glyphosate was administered to 90 albino rats (male and female) through oral intubation
at doses of 0, 3, 10 or 30 mg/kg/day for 24 months.

The results indicated a high rate of mortality in the control group in comparison to the
treated groups. There were no treatment-related increases in tumor incidences observed.




189 Reported in U.S. EPA’s “Glyphosate issue paper: Evaluation of carcinogenic potential,” 2016.


  Burnett, P., Borders, J., Kush, J., “Report to Monsanto Company: Two year chronic oral toxicity study
  with CP-76100 in albino rats: IBT No. 8560-08924,” (Unpublished study sent to the U.S. EPA on June
  24, 1982, under 524-308); prepared by Industrial Bio-Test Laboratories Inc.
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The highest dose tested in this study was 30 mg/kg/day which is considered below the
maximum tolerable dose to assess the carcinogenic potential of glyphosate.

Lankas, 1981190

In this chronic carcinogenicity study, 50 Sprague-Dawley rats (male and female) were fed
diets containing 98.7% pure glyphosate at doses of 0, 3, 10 and 31 mg/kg/day for male
rats and 0, 3, 11, 34 mg/kg/day for female rats (corresponding to 0, 30, 100 and 300 PPM)
for 775 - 776 days for males, and 784 - 785 days for female rats before termination. The
study recorded body weights, organ weights, food consumption, hematology, clinical
chemistry, urinalysis and survival as well as necropsy and histopathological examination.
The results are shown in Table 7 below.




190 Not published but reported in U.S. EPA, “Glyphosate issue paper,” 2016, and reported in Greim, et al.,

  2015, as Monsanto (1981).
  Lankas, G., “A lifetime study of glyphosate in rats,” Report No. 77-2062 prepared by Bio Dynamics,
  Inc., 1981.
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                                                   Table 7
  Incidence of Testicular Interstitial Cell Tumors in Male Sprague-Dawley Rats (Lankas, 1981)191

 Animal Dose (mg/kg                    0                      3                10                31
      bw/day)
    (N) number of                    (50)                    (50)             (50)              (50)
  animals examined
   Tumor incidents                   0**,a                    3                 1               6*,b

    *     Denotes statistical significance at p= 0.05
    **    Denotes statistical significance at p= 0.01
    a     Cochran-Armitage Trend Test (p ≤ 0.01)
    b     Fisher’s Exact Test (p ≤ 0.05)192

It was reported that the rats’ survival was not impacted by treatment at any dose level.
The 31/34 mg/kg/day (M/F) dose was considered to be a maximum tolerable dose to
assess carcinogenic potential. However, the results showed a statistically significant
trend of increased incidences of interstitial cell tumors of the testes (Leydig cell
tumor) in male rats. Furthermore, the incidence was statistically elevated in the high-dose
males as compared to the control. This was the only incidence of testicular interstitial cell
tumor among the rat studies.

Pavkov and Wyand, 1987193

Pavkov and Wyand, 1987, is a two year, chronic carcinogenicity study in which
glyphosate trimesium salt (sulfosate, 56.2% pure) was administered to male and female
Sprague-Dawley rats with 60 rats in the first dose group, 80 rats in the second dose




191 This table is adapted from U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs.
192 Fisher’s Exact Test Results are per the EPA.

193 Unpublished and reported in U.S. EPA’s “Glyphosate issue paper: Evaluation of carcinogenic

  potential,” 2016.
  Pavkov, K., Wyand, “Two year chronic toxicity and oncogenicity dietary study with SC-0224 in mice,”
  1987, Stauffer Chemical Company.
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groups and 90 rats in the third dose group. The dose groups were 0, 4.2, 21.2, or 41.8
mg/kg/day for male and 0, 5.4, 27, 55.7 mg/kg/day for female rats for 24 months.

The treatment doses had no effect on survival.                    There were no treatment-related
increases in tumor incidences in this study.

Stout and Ruecker, 1990194

This two year, chronic carcinogenicity study fed groups of 60 Sprague-Dawley rats (male
and female) diets containing 96.5% pure glyphosate at doses of 0, 89, 362 and 940
mg/kg/day for male rats and 0, 113, 457, 1183 mg/kg/day for female rats (corresponding
to 0, 2,000, 8,000 and 20,000 PPM). Ten rats per dose group were sacrificed at an interim
of 12 months for examination.

Examination of the rats covered clinical signs, ophthalmic examinations, body weight,
food consumption, hematology, clinical chemistry, urinalysis, organ weights, necropsy
and histopathological examination. The researchers observed that rats’ survival was not
impacted by treatment. A significant trend of elevated incidences of hyperplasia was
observed in the stomach squamous mucosa cells. (Hyperplasia is the abnormal
enlargement of an organ due to an increased replication rate of cells which can progress
to become malignant.)195 There were also significantly elevated trends of benign tumors
(adenomas) of the pancreas, liver and thyroid, as shown in Table 8.




194 Not published but reported in U.S. EPA, 2016 and reported in Greim, et al., 2015, as Monsanto (1990).


  Stout, L., Ruecker, P., “Chronic study of glyphosate administered in feed to albino rats,” 1990.
195 NCI, “Definition of hyperplasia,” n.d., NCI Dictionary of Cancer Terms, National Cancer Institute.

  Retrieved from: https://www.cancer.gov/publications/dictionaries/cancer-terms?cdrid=45956
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                                          Table 8
    Histopathology Results Observed in Sprague-Dawley Rats (Stout and Ruecker, 1990) 196

              Histopathology            Dose groups (PPM)           0           2000        8000        20000

                    Tissue              Dose groups (Male/Female)   (0/0)       (89/113)    (362/457)   (940/1183)
                                        mg/kg bw/day

 Non-neoplastic     Stomach squamous    Hyperplasiaa,b   Males      3/58 (5)    3/58 (5)    5/59 (8)    7/59 (12)

 lesions            mucosa                               Females    2/59 (3)    3/60 (5)    9/60 (15)   6/59 (10)

 Neoplastic         Pancreatic islet    Adenomas         Males      1/43 (2)*   8/45 (18)   5/49 (10)   7/48 (15)*,c

 lesions            cells

                    Liver               Adenomas         Males      2/44 (5)*   2/45 (4)    3/49 (6)    7/48 (15)

                    Thyroid C-Cells     Adenomas         Males      2/54 (4)    4/55 (7)    8/58 (14)   7/58 (12)

                                        Carcinomas       Males      0/54 (0)    2/55 (4)    0/58 (0)    1/58 (2)

                                        Combined         Males      2/54 (4)    6/55 (11)   8/58 (14)   8/58 (14)

                                        Adenomas         Females    2/57 (4)*   2/60 (3)    6/59 (10)   6/55 (11)

                                        Carcinomas       Females    0/57 (0)    0/60 (0)    1/59 (2)    0/55 (0)

                                        Combined         Females    2/57 (4)*   2/60 (3)    7/59 (12)   6/55 (11)

     *     Denotes statistical significance at p= 0.05
     a     Number of incidents/number of animals examined, excluding those that died or were sacrificed
           prior to week 55
     b     Percentages of incidents appear in parenthesis
     c     Fisher’s Exact Test (p ≤ 0.05)197

The trend analysis for pancreatic tumors was not statistically significant as incidents of
pancreatic tumors did not follow a dose response pattern; however, they were statistically
elevated in the low and high dose groups as compared to the controls.

In the case of tumors in multiple tissue locations, the National Toxicology Program uses
the following criteria for listing a chemical as “Reasonably Anticipated to be a Human
Carcinogen.” When “there is sufficient evidence of carcinogenicity from studies in



196 This table is adapted from both U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic

  potential,” 2016, and “Tier II summaries for glyphosate carcinogenicity studies from Greim, et al.,
  paper, 2015.” “Fisher’s Exact Test” and “Cochran-Armitage Trend test results” were performed by U.S.
  EPA.
197 Fisher’s Exact Test results are per the U.S. EPA.


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experimental animals which indicates there is an increased incidence of malignant and/or
a combination of malignant and benign tumors (1) in multiple species or at multiple tissue
sites or (2) by multiple routes of exposure or (3) to an unusual degree with regard to
incidence, site or type of tumor or age at onset.” 198

Consequently, this study is a good indicator that glyphosate is reasonably anticipated to
be a human carcinogen.

Atkinson, et al., 1993199

This chronic toxicity/carcinogenicity study fed groups of 50 Sprague-Dawley rats (male
and female) diets containing 98.9% pure glyphosate at doses of 0, 11, 112, 320 and 1,147
mg/kg/day for male rats and 0, 12, 109, 347 and 1,134 mg/kg/day for female rats for 104
weeks before termination. The treatment doses had no effect on survival. There were no
treatment-related increases in tumor incidences in this study.

Suresh, 1996200

This two year, chronic carcinogenicity study fed groups of 50 Wister rats (male and
female) diets containing 96.8% pure glyphosate at doses of 0, 7.4, 73.9, and 740.6
mg/kg/day for male and female rats (corresponding to 0, 100, 1,000 and 10,000 PPM).
Twenty rats per sex were sacrificed at an interim of twelve months for examination.

The rats’ survival was not affected by treatment. A high volume of tumor incidences was
observed in moribund animals sacrificed after termination of the study as shown in the
table below. Tumor incidences appeared elevated above controls in the low and mid
doses (hepatocellular carcinoma and intrahepatic bile duct adenoma); these did not
exhibit dose-response relationships (as shown in Table 9) and were not statistically
significant.




198 https://ntp.niehs.nih.gov/pubhealth/roc/criteria/index.html

199 Not published but reported in U.S. EPA, 2016, and reported in Greim, et al., 2015, as Cheminova

  (1993).
200 Not published but reported in U.S. EPA, 2016, and reported in Greim, et al., 2015, as Feinchemie

  Schwebda (1996).
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                                          Table 9
        Neoplastic histopathological findings in Wistar Male Rats201 (Suresh, 1996)

                                         Animal Dose        Incidence of          Incidence of
                                           in PPM           Adenoma (%)          Carcinoma (%)

      Hepatocellular (male rats)                0           24/50 (48%)        21/50 (42%)

                                               100          22/50 (44%)        28/50 (56%)

                                              1,000         10/52 (19%)        18/48 (38%)

                                             10,000         21/41 (51%)        24/50 (48%)

      Bile duct (intrahepatic                   0           2/50 (4%)          1/50 (2%)
      adenomas and                             100          1/50 (1%)          3/50 (6%)
      cholangiocarcinoma) (male
                                              1,000         0/50 (0)           2/48 (4%)
      rats)
                                             10,000         0/50 (0)           3/50 (6%)

      Hepatocellular (female rats)              0           18/50 (36%)        10/50 (20%)

                                               100          18/48 (38%)        15/48 (31%)

                                              1,000         19/49 (39%)        14/49 (29%)

                                             10,000         13/50 (26%)        9/50 (18%)

      Bile duct (intrahepatic                   0           6/50 (12%)         1/50 (2)
      adenomas and                             100          11/48 (23%)        0/48 (0)
      cholangiocarcinoma) (female
                                              1,000         12/48 (25%)        0/50 (0)
      rats)
                                             10,000         4/50 (8%)          0/50 (0)




201 This table was adapted from “Tier II summaries for glyphosate carcinogenicity studies from Greim, et

  al., 2015, paper.”
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Entomoto, A. (1997)202

This two year chronic toxicity/carcinogenicity study fed groups of 50 Sprague-Dawley rats
(male and female) diets containing 94.6 - 97.56% pure glyphosate at doses of 0, 104,
354, and 1,127 mg/kg/day for male rats and 0, 115, 393 and 1,247 mg/kg/day for female
rats corresponding to 0, 3000, 10,000 and 30,000 PPM.

Examination of the rats by this study covered clinical signs, ophthalmic examinations,
body weight, food consumption, hematology, clinical chemistry, urinalysis, organ weights,
necropsy and histopathological examination.

Results on neoplasms were considered to not be treatment-related by the authors and
were not reported.

Brammer, 2001203

This chronic carcinogenicity study fed groups of 52 Wister rats (male and female) diets
containing 97.6% pure glyphosate at doses of 0, 121, 361 and 1,214 mg/kg/day for male
rats and 0, 145, 437, 1,498 mg/kg/day for female rats (corresponds to 0, 2000, 6000, and
20,000 PPM) for 24 months before termination.

Examination of the rats by this study covered clinical signs, ophthalmic examinations,
body weight, food consumption, hematology, clinical chemistry, urinalysis, organ weights,
necropsy and histopathological examination.

A significantly higher survival trend was found in male treated rats (p=0.03) with a
significant higher survival found in the highest dosed group of male rats (p =0.02). As
shown in Table 10, a statistically significant trend (p= 0.008) was found for liver adenomas
in male rats although the middle dose did not show a response. A statistically elevated
tumor incidence was also found at the high dose concentration at p= 0.028.




202 Not published but reported in U.S. EPA, 2016, and reported in Greim, et al., 2015, as Arysta Life

  Sciences (1997).
203 Not published but reported in U.S. EPA, 2016 and in Greim, et al., 2015, as Syngenta (2001).


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                                         Table 10
             Incidence of Liver Adenomas in Male Wister rats204 (Brammer, 2001)

  Animal Dose (mg/kg/day)                  Tumor incidence                  Percentage Incidence
                 0                                0/52 a**                              0

                121                                  2/52                               4

                361                                  0/52                               0

               1,214                                 5/52b*                            10

    * Denotes statistical significance at p= 0.05
    ** Denotes statistical significance at p= 0.01
    a  Cochran-Armitage Trend Test (p ≤ 0.01)
    b  Fisher’s Exact Test (p ≤ 0.05)205



Wood, et al., 2009a206

This chronic carcinogenicity study fed groups of 51 Wister rats (male and female) diets
containing 95.7% pure glyphosate at doses of 0, 95, 316.9 and 1,229.7 mg/kg/day for
male and female rats equivalent to 0, 1500, 5000, and 15,000 PPM for 24 months before
termination.

A statistically significant trend of elevated incidences of mammary gland tumors
(adenocarcinomas) (p=0.042), combined adenomas and carcinoma (p = 0007)) were
noted in female rats as shown in Table 11 below. A statistical difference was noted at the
high dose when adenoma and carcinoma incidences were combined.




204 This table is adapted from U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend test
  results were performed by the U.S. EPA.
205 Fisher’s Exact Test results are per the U.S. EPA.

206 Not published but reported in U.S. EPA, 2016, and in Greim, et al., 2015, as Nufram, (2009a).


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                                      Table 11
       Mammary Gland Tumor Incidences in Female Wister Rats (Wood et al, 2009a)207

      Animal Dose in          Incidence of               Incidence of       Combined Incidences
        mg/kg/day             Adenoma (%)               Carcinoma (%)              (%)
               0                  0/51 (0)                2/51 (4)*,a              2/51 (4)**,b
              95                  0/51 (0)                 3/51 (6)                 3/51 (6)
            316.9                 0/51 (0)                 1/51 (2)                 1/51 (2)
           1,229.7                2/51 (4)                6/51 (12)               8/51 (16)*,c

     * Denotes statistical significance at p= 0.05
     ** Denotes statistical significance at p= 0.01
     a  Cochran-Armitage Trend Test (p ≤ 0.05)
     b  Cochran-Armitage Trend Test (p ≤ 0.01)
     c  Fisher’s Exact Test (p ≤ 0.05) 208


Summary of Rat Carcinogenicity Studies

Three out of six feeding studies with dietary doses within regulatory guidelines (i.e.
maximum tolerated dose or MTD)209 had positive trends and/or significantly elevated
tumor incidences. One study, Stout and Ruecker (1990), observed elevated tumor trends
in multiple tissue types - pancreas, liver and thyroid. In Stout and Ruecker, hyperplasia,
which can be a precursor to cancer, was also found at significantly elevated levels in the
stomach squamous mucosa.




207 This table is adapted from U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend test
  results were performed by U.S. EPA.
208 Fisher’s Exact Test results are per the U.S. EPA.

209 “Long-term animal studies at or near the maximum tolerated dose level (MTD) are used to ensure an

  adequate power for the detection of carcinogenic activity,” in U.S. EPA, “Guidelines for carcinogen risk
  assessment,” EPA/630/R-00/004, September 1986, page 5.
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Other studies found elevated incidences of tumors in the testes (Lankas, 1981), liver
(Brammer, 2001) and mammary glands (Wood, et al., 2009a) 210. Statistically significant
doses were observed for testicular, pancreatic, liver and mammary glands. The results
are summarized in Table 12 below.

                                        Table 12
                     Summary of Bioassays for Detecting Carcinogenicity

                 Doses /
                Concentrati       Test gender
   Study           on               / Strain            Tumor Incidences                   Comments
 Burnett, et   0, 3, 10, or 30    Male and        Negative                               Dose below
 al., 1979     mg/kg/day          female /                                               regulatory testing
                                  Albino rats                                            guidelines
 Lankas,       0, 3, 10 and       Male /          Positive trend of elevated             Dose below
 1981          31 mg/kg/day       Sprague-        testicular interstitial cell tumors.   regulatory testing
                                  Dawley rats     Positive elevated tumor incidence      guidelines
 Pavkov        0, 4.2, 21.2, or   Male and        Negative                               Dose below
 and           41.8               female /                                               regulatory testing
 Wyand,        mg/kg/day          Sprague-                                               guidelines
 1987                             Dawley rats
 Stout and     0, 89, 362 and     Male and        Positive trend of elevated
 Ruecker,      940 mg/kg/day      female /        hepatocellular adenomas in male
 1990                             Sprague-        mice and thyroid c-cell tumor in
                                  Dawley rats     male rats. Significantly elevated
                                                  incidents of pancreatic
                                                  adenomas,
 Atkinson et   0, 11/12,          Male and        Negative                               Positive trend for
 al., 1993     112/109,           female /                                               thyroid follicular
               320/347 and        Sprague-                                               cell tumors found
               1,147/1134         Dawley rats                                            independently
               mg/kg/day
 Suresh,       0, 7.4, 73.9,      Male and        Negative
 1996          and 740.6          female /
               mg/kg/day          Wister rats




210 (a) Wood, E., Dunster, J., Watson, P., and Brooks, P., “Glyphosate technical: Dietary combined

  chronic toxicity/carcinogenicity study in the rat,” 2009a, Harlan Laboratories Limited, Page 156 of 227
  Shardlow Business Park, Shardlow, Derbyshire DE72 2GD, UK. Study No. 2060-012. April, 23, 2009.
  MRID 49957404. From Glyphosate issue paper: Evaluation of carcinogenic potential, U.S. EPA’s
  Office of Pesticide Programs, September 12, 2016.


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                                       Table 12
                    Summary of Bioassays for Detecting Carcinogenicity

               Doses /
              Concentrati    Test gender
   Study         on            / Strain            Tumor Incidences                Comments
 Entomoto,    0, 104/115,    Male and        Negative                            Positive trend for
 1997         354/393,       female /                                            kidney adenomas
              1127/1247      Sprague-
              mg/kg/day      Dawley rats
 Brammer,     0, 121, 361    Male Wister     Positive trend in liver adenomas,
 2001         and 1,214      rats            positive significance at 1,214
              mg/kg/day                      dose
 Wood et      0, 95, 316.9   Female Wister   Positive trend and significant
 al., 2009a   and 1,229.7    Rats            incidences of mammary gland
              mg/kg/day                      tumors at 1,229.7 mg/kg/day



Furthermore, Dr. Portier, former director of the NIEHS (National Institute of Environmental
Health Sciences) and a collaborator on IARC monographs, was able to review the
complete animal laboratory data from chronic carcinogenicity studies of glyphosate and
noted additional significant tumor trends that were not reported in the U.S. EPA’s
publication nor in the supplemental material from Greim, et al, 2015. This includes:

   x    Atkinson, et al., 1993. Thyroid follicular cell adenomas and carcinomas in male
        Sprague Dawley rats: 0/50, 0/50, 0/50, 2/50, 2/49 (p=0.04)

   x    Lankas, et al, 1981. Thyroid c-cell carcinomas in female Sprague Dawley rats
        1/47, 0/49, 2/50, 6/47 (p=0.003)

   x    Entomoto, 1997. Kidney adenoma in male Sprague Dawley rats: 0/50, 0/50, 0/50,
        4/50 (p=0.004)

   x    Wood, et al., 2009b. Skin keratocanthoma in male Wister rats: 2/51, 3/51, 0/51,
        6/51 (p=0.03)

In the case of tumors in multiple tissue locations, the National Toxicology Program
identified a chemical as “Reasonably Anticipated to be a Human Carcinogen” when:




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        “There is sufficient evidence of carcinogenicity from studies in experimental
        animals which indicates there is an increased incidence of malignant and/or a
        combination of malignant and benign tumors (1) in multiple species or at multiple
        tissue sites or (2) by multiple routes of exposure or (3) to an unusual degree with
        regard to incidence, site, or type of tumor or age at onset.” 211



Carcinogenicity Studies in Mice

As with rat studies, two-year chronic carcinogenicity studies in laboratory mice provide
valuable data with respect to identifying substances having the potential to be hazardous
to humans. Typically two or more species of both sexes are employed to demonstrate the
widest possible range of response and variability, though some studies limit sex and
specie.

Knezevich and Hogan, 1983212

This chronic carcinogenicity study fed groups of 50 CD-1 mice (male and female) diets
containing 99.78% pure glyphosate at doses of 0, 161, 835 and 4,945 mg/kg/day for male
mice and 0, 195, 968, and 6,069 mg/kg/day for female mice for 24 months prior to
termination. Complete necropsy examinations were performed on all animals which died
or when they were sacrificed at termination.

Incidences of hepatocellular lesions were found to have statistically significant trends
observed for central lobular hepatocyte hypertrophy, centrilobular hepatocyte necrosis
and chronic interstitial nephritis in males and hypertrophy in females. Results appear in
Tables 13 and 14.




211 National Toxicology Program, “Listing criteria,” 2016, Report on Carcinogens, Public Health, U.S.

  Department of Health and Human Services, Retrieved from:
  https://ntp.niehs.nih.gov/pubhealth/roc/criteria/index.html
212 Not published but reported in U.S. EPA, 2016, and in Greim et al., 2015, as Monsanto, (1983).


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                                            Table 13
                    Lesions in Male CD-1 Mice (Knezevich and Hogan, 1983)213

                                              Concentrations of glyphosate in diet (PPM)
     Condition                   Sex           0              1,000           5,000          30,000
     Urinary bladder              M           3/49             3/50           10/50              8/50
     hyperplasia

     Hepatocellular               M           9/49             5/50            3/50              17/50
     centrilobular
     hypertrophy                  F           0/49             5/50            1/49              1/49

     Hepatocellular               M          0/49**a           2/50            2/50          10/50**b
     centrilobular necrosis

    ** Denotes statistical significance at p= 0.01
    a  Cochran-Armitage Trend Test (p ≤0.01)
    b  Fisher’s Exact test (p ≤0.01)214


                                             Table 14
                      Kidney Tubular Cell Tumor Incidences in male CD-1 mice
                                 (Knezevich and Hogan, 1983)215

        Animal Dose in        Incidence of               Incidence of       Combined Incidences
          mg/kg/day           Adenoma (%)               Carcinoma (%)              (%)
               0                  1/49 (2)                 0/49 (0)                   1/49 (2)

             161                  0/49 (0)                 0/49 (0)                   0/49 (0)

             835                  0/50 (0)                 1/50 (2)                   1/50 (2)
            4,945                 1/50 (2)                 2/50 (4)                   3/50 (6)


The US. EPA’s OPP review noted an incidence of renal tubule tumors in the male mice,
which are considered rare, but stated that there was limited historical data for this mice



213 This table is adapted from Greim, et al., 2015. Fisher’s Exact Test and Cochran-Armitage Trend Test

  results were performed by U.S. EPA.
214 Fisher’s Exact Test results are per the U.S. EPA.

215 This table is adapted from U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend Test
  results were performed by U.S. EPA.
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strain and no significant pairwise comparison. However, it should be noted that U.S.
EPA’s “Guidelines for Carcinogen Risk Assessment”216 states that “For the evaluation of
rare tumors, even small tumor responses may be significant compared to historical data.”

Pavkov and Turnier, 1987

This two year study of chronic toxicity/carcinogenicity fed groups of CD-1 mice (male and
female) diets containing glyphosate trimesium salt (56.2 % pure glyphosate) at doses of
0, 11.7, 118, and 991 mg/kg/day for male mice and 0, 16, 159 and 1,341 mg/kg/day for
female mice. Sixty mice per sex were tested in the control group and 80 mice per sex
were tested in the low and mid-dose group while 90 mice per sex were tested in the high
dose group.

Results on neoplasms were considered to not be treatment-related by the authors and
were not reported.

Atkinson, et al., 1993217

This chronic carcinogenicity study fed groups of 50 CD-1 mice (male and female) diets
containing >97% pure glyphosate at doses of 0, 98, 297 and 988 mg/kg/day for male mice
and 0, 102, 298, and 1,000 mg/kg/day for female mice for 24 months before termination.

Results of this study observed a statistically significant trend in hemangiosarcomas in
male CD-1 mice. The only significant increase occurred at the high dose (see Table 15).




216 U.S. EPA, “Guidelines for carcinogen risk assessments,” EPA/630/R-00-004, September 1986, page

  6.
217 Not published but reported in U.S. EPA, 2016, and in Greim, et al., 2015, as Cheminova, (1993b).


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                                       Table 15
         Incidences of Hemangiosarcomas in Male CD-1 Mice218 (Atkinson et al., 1993)

  Animal Dose (mg/kg/day)                  Tumor incidence                  Percentage Incidence
                 0                                0/47 **a                               0

                98                                 0/46                                  0

                297                                0/50                                  0

                988                               4/45 **                                9

    **   Denotes significance at p = 0.01
    a    Cochran-Armitage Trend Test (p ≤ 0.01)

Sugimoto, K., 1997219

This chronic carcinogenicity study fed groups of 50 CD-1 mice (male and female) diets
containing 94.6 and 97.6% pure glyphosate at doses of 0, 165, 838.1 and 4,348
mg/kg/day for male and 0, 153.2, 786.8 and 4,116 mg/kg/day for female mice equivalent
to 0, 1,600, 8,000 and 40,000 PPM for male and female mice for 18 months before
termination.

Results of this study observed a statistically significant trend in hemangioma in male CD-
1 mice and a significantly increased rate of malignant lymphomas. The only significant
increase in hemangioma occurred at the highest dose. Results are shown in Tables 16
and 17.




218 This table is adapted from U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend Test
  results were performed by U.S. EPA.
219 Not published but reported in U.S. EPA, 2016, and in Greim, et al., 2015, as Arysta Life Sciences,

  (1997a).
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                                        Table 16
             Incidences of Hemangioma in Female CD-1 Mice220 (Sugimoto, 1997)

  Animal Dose (mg/kg/day)                  Tumor incidence                 Percentage Incidence
                 0                                0/50 **a                              0
               153.2                               0/50                                 0
               786.8                               2/50                                 4
               4,116                              5/50 **                             10*,b

    *    Denotes significance at p = 0.05
    **   Denotes significance at p = 0.01
    a    Cochran-Armitage Trend Test (p ≤ 0.01), 2016
    b    Fisher’s Exact Test (p ≤ 0.05)221




                                                Table 17
                  Incidences of Malignant Lymphomas in Male CD-1 Mice
           Which Survived Until Termination of the Experiment222 (Sugimoto, 1997)

  Animal Dose (mg/kg/day)                  Tumor incidence                 Percentage Incidence

                 0                                0/26 a                                0

                165                                0/34                                 0

               838.1                               1/27                                 4

               4,348                              5/29 **                              17

    **   Denotes significance at p = 0.01
    a    Cochran-Armitage Trend Test (p ≤ 0.01)


220 This table is adapted from Wood et al., 2009b, in U.S. EPA’s, “Glyphosate issue paper: Evaluation of

  carcinogenic potential,” 2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and
  Cochran-Armitage Trend Test results were performed by U.S. EPA.
221 Fisher’s Exact Test results are per the U.S. EPA.

222 This table is adapted from Wood et al., 2009b, in U.S. EPA’s, “Glyphosate issue paper: Evaluation of

  carcinogenic potential,” 2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and
  Cochran-Armitage Trend Test results were performed by U.S. EPA.
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Kumar, 2001223

This chronic carcinogenicity study fed groups of 50 Swiss albino mice (male and female)
diets containing > 95.14 % pure glyphosate at an average dose of 0, 14.7, 150.5 and
1,460.3 mg/kg/day for male equivalent to 0, 100, 1,000 and 10,000 PPM for male and
female mice for 18 months before termination.

The mortality of mice after 18 months of the study was 44, 40, 44 and 54% for males and
32, 32, 40 and 40% in females in the control through high dose groups. Mortality was
slightly elevated in the dosed mice above the control group. The authors determined that
mortality was unusually high for the strain and was not dose related without adequate
explanation. More recently, an unsubstantiated allegation of a former US EPA official
(Jess Rowland) stated that the mice used in the study were suffering from a viral infection
that might have caused cancer. Another alleged weaknesses with the study cited a high
background of malignant lymphomas in control mice used for the study. However, as
shown below in Table 18, only females revealed a high background rate of lymphoma.
Results of this study observed a highly statistically significant Cochran-Armitage Trend
Test (p ≤ 0.01) and trend among male mice with only 1 positive lymphoma mouse in the
control group and a significance (p = 0.01) incident rate of lymphoma amongst the high
dose group as detailed in Table 18.




223 Not published but reported in U.S. EPA, 2016, and in Greim et al., 2015, as Feinchemie Schwebda,

  (2001).
                                                                                                   116
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                                         Table 18
           Incidences of malignant lymphomas in Swiss Albino Mice224 (Kumar, 2001)


                                  Glyphosate dose in PPM (percentage incidence)
                       Gender             0                100              1,000              10,000

 Terminal                Male         1/28 (4) a        3/30 (10)         3/28 (11)          6/23 (26) **
 sacrificed mice
                       Female         9/34 (26)        10/34 (29)         6/30 (20)          13/30 (43)

 Dead and                Male         9/22 (41)         12/20(60)        13/22 (59)          13/27 (48)
 moribund mice
                       Female         9/16 (56)        10/16 (63)        13/20 (65)          12/20 (60)

 Combined                Male        10/50 (20) a      15/50 (30)        16/50 (32)         19/50 (38) **

                       Female        18/50 (36)        20/50 (40)        19/50 (38)          25/50 (50)

     **   Denotes significance at p = 0.01
     a    Cochran-Armitage Trend Test (p ≤ 0.01)

The U.S. EPA’s evaluation noted that the population of mice in the study had a viral
infection and, therefore, did not include the results in their assessment.

Wood, et al., 2009b225

The study was conducted between October 2005 and November 2007 in which four
groups of 51 male CD-1 mice received daily dietary doses of 0, 500, 1,500 and 5,000
PPM 95.7%-technical grade glyphosate (resulting in an average glyphosate consumption
of 71.4, 234.2, and 810 mg/kg/day) for 80 weeks.226




224 Data in table is adapted “Tier II summaries for glyphosate carcinogenicity studies from Greim, et al.,

  2015 paper.”
225 Not published but reported in U.S. EPA, 2016, and in Greim, H., Saltmiras, D., Mostert, V., Strupp, C.,

  “Evaluation of carcinogenic potential of the herbicide glyphosate drawing on tumor incidence data from
  fourteen chronic/carcinogenicity rodent studies, et al.,” 2015, Critical Reviews in Toxicology, Vol. 45(3),
  pp. 185 - 208, as Nufram, (2009).
226 Note that Greim, et al., referenced this as an 18 month study. Greim, H., Saltmiras, D., Mostert, V.,
  Strupp, C., “Evaluation of carcinogenic potential of the herbicide glyphosate drawing on tumor
                                                                                                            117
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A statistically significant trend of increased incidence of lymphomas and lung
adenocarcinomas was observed (Table 19). A statistically significant elevated lymphoma
incidence was observed in the 810 mg/kg/day dose group. Additionally, significant
lymphoid hyperplasia was observed at low and mid doses in males (71.4 and 234.2
mg/kg/day) while malignant lymphomas were significantly induced at 810 mg/kg/day.



                                    Table 19
     Incidence of Malignant Lymphomas in Male CD-1 Mice227 (Wood et al., 2009b)

 Doses (mg/kg/day)                                   0             71.4         234.2          810
 Lung                     Incidences               5/51a           5/51          7/51         11/51
 Adenocarcinoma
                          % Incidences               10             10            14            22

 Lymphomas                Incidences               0/51 a          1/51          2/51         5/51b

                          % Incidences               0               2             4            10
    a    Cochran-Armitage Trend Test (p = 0.007)
    b    Fisher’s Exact Test (p=0.028)




Summary of Mice Carcinogenicity Studies

Four out of six mice (67%) feeding studies with dietary doses within regulatory guidelines
(i.e., at or near maximum tolerated dose or MTD)228 had positive trends and/or
significantly elevated tumors incidences. Two studies, Atkinson (1993) and Sugimoto
(1997) observed significant trends of hemagiosarcomas including a significant incidence
level at 4,116 mg/kg/day dose in Sugimoto (1997).



  incidence data from fourteen chronic/carcinogenicity rodent studies, et al.,” 2015, Critical Reviews in
  Toxicology, Vol. 45(3), pg. 185 - 208.
227 This table is adapted from Wood, et al., 2009b, in U.S. EPA’s, “Glyphosate issue paper: Evaluation of

  carcinogenic potential,” 2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and
  Cochran-Armitage Trend Test results were performed by U.S. EPA.
228 “Long-term animal studies at or near the maximum tolerated dose level (MTD) are used to ensure an

  adequate power for the detection of carcinogenic activity,” in U.S. EPA “Guidelines for carcinogen risk
  assessment,” EPA/630/R-00/004, September, 1986, page 5.
                                                                                                       118
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Significant trends of increasing incidences of malignant lymphomas were found with
increasing glyphosate doses in Sugimoto (1997), Kumar (2001) and Wood, et al.,
(2009b). The Wood, et al., (2009b) study also found a significantly increased trend for
incidences of lung adenocarcinomas and another study species showing significant
results for malignancies in multiple tissues.

The National Toxicology Program identifies as their criteria for listing a chemical as
“Reasonably Anticipated to be a Human Carcinogen” to be when:

         “There is sufficient evidence of carcinogenicity from studies in experimental
        animals which indicates there is an increased incidence of malignant and/or a
        combination of malignant and benign tumors (1) in multiple species or at multiple
        tissue sites or (2) by multiple routes of exposure or (3) to an unusual degree with
        regard to incidence, site, or type of tumor or age at onset.” 229

Based upon the U.S. EPA guidelines, there is evidence of uncommon tumor types,
tumors at multiple sites, tumors in multiple species, strains and dose-related increases.

Table 20 presents a summary of the mice carcinogenicity studies cited herein.




229 https://ntp.niehs.nih.gov/pubhealth/roc/criteria/index.html


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                                         Table 20
                   Summary of Bioassays for Detecting Mice Carcinogenicity

    Study           Doses /            Test gender /             Tumor                   Comments
                  Concentration           Strain               Incidences
 Knezevich        0, 161, 835 and     Male / CD-1 Mice     None                    Elevated incidences of
 and Hogan,       4,945 mg/kg/day                                                  hepatocellular necrosis
 1983                                                                              and hypertrophy in mice.
                                                                                   Also elevated urinary
                                                                                   bladder hyperplasia.
                                                                                   Elevated incidences of
                                                                                   rare kidney tubular cell
                                                                                   carcinoma; not to the
                                                                                   level of statistical
                                                                                   significance.

 Pavkov and       0, 11.7/16,         Male and female      None
 Turnier, 1987    118/159, and        / CD-1 Mice
                  991/1341
                  mg/kg/day

 Atkinson et      0, 98, 297 and      Male / CD-1 Mice     Positive trend in
 al., 1993        988 mg/kg/day                            hemangiosarcomas

 Sugimoto,        0, 165/153.2,       Male and female      Positive trend in
 1997             838.1/786.8 and     / CD -1 Mice         hemangiosarcomas
                  4,348/4,116                              and significant
                  mg/kg/day                                incidence levels of
                                                           hemangiosarcomas
                                                           and malignant
                                                           lymphoma

 Kumar, 2001      0, 14.7, 150.5,     Male and female      Positive trend and      U.S. EPA OPP stated
                  and 1,460.3         / Swiss Albino       elevated incidence      that a viral infection was
                  mg/kg/day           Mice                 of malignant            present in the colony of
                                                           lymphoma                mice. (unsubstantiated
                                                                                   allegation)230

 Wood, et al.,    0, 71.4, 234.2      Male / CD-1 Mice     Positive trend and
 2009b            and 810                                  elevated incidence
                  mg/kg/day                                of malignant
                                                           lymphoma




230 There are no documents available that provide any objective scientific evidence for viral infections.

  Rather, the health status of animals simply supported the plausibility of a viral infection.
                                                                                                            120
